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 1                                               THE HONORABLE JOHN C. COUGHENOUR
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13                                UNITED STATES DISTRICT COURT
14                               WESTERN DISTRICT OF WASHINGTON
15                                         AT SEATTLE
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17
18   DOMAIN NAME COMMISSION                       No. 2:18-cv-874
19   LIMITED,
20                                                PLAINTIFF’S OPPOSITION TO
21                           Plaintiff,           DEFENDANT’S MOTION FOR
22                                                EXPEDITED DISCOVERY
23            v.
24                                                NOTE ON MOTION CALENDAR:
25   DOMAINTOOLS, LLC                             July 6, 2018
26
27                           Defendant.
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 1                                       I.     INTRODUCTION
 2
 3            Since November 2017, Domain Name Commission Limited (“DNCL”) has sought to stop
 4
 5   DomainTools, LLC’s (“DomainTools”) unauthorized bulk access, compilation, and sale of .nz
 6
 7   registrants’ Whois information by demanding that DomainTools comply with the .nz Whois
 8
 9   terms of use (“TOU”). DomainTools’ unauthorized activities undermine the policies DNCL has
10
11   implemented to protect .nz registrant privacy and safety, and prevent DNCL from honoring the
12
13   promises it made to .nz registrants through the .nz TOU and by offering the Individual Registrant
14
15   Privacy Option (“IRPO”)—through which individual registrants can elect to withhold their
16
17   personal phone numbers and physical addresses. As demonstrated in the complaint and DNCL’s
18
19   motion for a preliminary injunction, DomainTools’ conduct causes DNCL irreparable harm.
20
21            When it initially appeared that DNCL might be able to achieve this objective without the
22
23   expense and delay inherent in litigation, DNCL diligently and in good faith engaged
24
25   DomainTools to that end. And when, in May, it became clear the parties could not resolve the
26
27   matter without litigation, DNCL provided advance notice to DomainTools, promptly initiated
28
29   this action, and concurrently filed its motion for preliminary injunction to obtain immediate relief
30
31   from the irreparable harm described above and in that motion.
32
33            DomainTools’ current Motion for Expedited Discovery (“Motion” or “Mot.”) is the most
34
35   recent in a series of requests that it has made to delay DNCL’s pursuit of relief from the above
36
37   irreparable harm. DomainTools’ motion should be denied because there is no basis for such
38
39   discovery, let alone such extensive discovery, in advance of the ordinary schedule. This is
40
41   particularly true because discovery is being sought by the party who does not bear the burden of
42
43   proof and because much of the evidence DomainTools seeks has already been provided to it in
44
45   DNCL’s papers, is publicly available, or is discovery to which DomainTools is not entitled. For
46
47   all these reasons, DNCL asks the Court to deny DomainTools’ motion for expedited discovery
48
49   and to hear DNCL’s motion for preliminary injunction in the ordinary course as provided under
50
51   the Federal and Local Rules.
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 1                                         II.    BACKGROUND
 2
 3            The factual background of this dispute is detailed in DNCL’s complaint and Motion for
 4
 5   Preliminary Injunction. DNCL provides here only those additional facts necessary to correct
 6
 7   errors and mischaracterizations set forth in DomainTools’ motion.
 8   A.       DNCL has pursued a remedy to DomainTools’ unauthorized access to registrant
 9            information diligently and in good faith.
10
11            Since DNCL demanded that DomainTools cease its unauthorized access to and use of .nz
12
13   registration information in November 2017, DNCL has sought diligently and in good faith to
14
15   resolve this matter, obtain DomainTools’ compliance with its Terms of Use, and protect its
16
17   registrants’ privacy, countenancing only such delay as was necessary effectively to pursue this
18
19   objective and to extend professional courtesy to DomainTools and its counsel, who were
20
21   occasionally unresponsive and frequently requested extensions of time. See generally Decl. of
22
23   Todd M. Hinnen in Supp. of Pl.’s Opp. to Def.’s Mot. for Expedited Discovery (“Hinnen
24
25   Decl.”). DNCL would have preferred to resolve this matter without the expense and delay
26
27   litigation necessarily entails. Id. ¶ 18. As long as resolution without litigation seemed possible (in
28
29   fact likely—from its first communication in December 2017 until late April 2018, DomainTools
30
31   continuously professed a desire to resolve the matter without litigation), DNCL continued to
32
33   engage in such efforts and to extend such courtesies as were conducive of that end. Id. ¶¶ 2-24.
34
35   DomainTools now seeks to use DNCL’s courtesy as a weapon against DNCL. See Mot. at 5-6.
36
37            Ultimately, those efforts to resolve this matter were unsuccessful, frustrated, as it seemed
38
39   to DNCL, by DomainTools’ late reversal of course in mid-April 2018. Id. ¶ 24. (It is notable and,
40
41   to DNCL, inexplicable that although DomainTools purports to have ceased accessing Whois
42
43   information hosted by DNCL, as requested by DNCL’s most recent cease-and-desist letter, on
44
45   June 14, 2018, before DNCL initiated this litigation, DomainTools neither notified DNCL of that
46
47   fact at the time nor in any of its subsequent communications with DNCL, and DNCL instead
48
49   learned of it only when it received DomainTools’ motion. See Dkt. 3 ¶ 15, Ex. 14 (requesting
50
51   “notice from DomainTools by Wednesday, June 13, 2018, that it has ceased and desisted any
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 1   access to the .nz WHOIS servers and services”); see also Hinnen Decl. ¶¶ 34-35, Ex. H
 2
 3   (indicating that DNCL would be open to discussing early discovery “[i]f DomainTools were to
 4
 5   agree fully to comply with DNCL’s terms of use and revocation of license while the motion
 6
 7   remained pending”).1 Be that as it may, DNCL cannot properly or accurately be charged with
 8
 9   sleeping on its rights or pursuing relief with anything less than diligence and good faith, and it
10
11   required significant manipulation and mischaracterization of the record for DomainTools to
12
13   argue otherwise. Without further belaboring the point here, DNCL’s efforts to engage
14
15   DomainTools in good faith and resolve this matter without need of litigation are chronicled in
16
17   the Declaration of Todd M. Hinnen submitted in support hereof.
18
19
     B.       Authorization to access registrant information has always been conditioned on
20
              compliance with DNCL’s Terms of Use.
21            DomainTools’ motion frequently reiterates that DNCL has made domain registrant
22
23   information “publicly available,” a statement that is true as far as it goes but is also materially
24
25   incomplete. Like most services offered on the Internet, DNCL’s provision of Whois services is,
26
27   and always has been, subject to terms and conditions to which visitors like DomainTools must
28
29   agree as a condition to being authorized to access and use the services. See Carey Decl. ¶ 23,
30
31   Exs. 4-5. Registrant information was available to the public on the terms and conditions in the
32
33   TOU; DomainTools chose to violate those terms and conditions.2
34
35            DomainTools conflates public availability with unrestricted access and use, but access to
36
37   and use of Whois information is expressly restricted by DNCL’s Terms of Use. Just as a public
38
39
40            1
               Nor would that fact be evident to DNCL, since DomainTools uses a distributed network
41
     of IP addresses from all over the world and other means to prevent DNCL from identifying (and
42
     blocking) its unlawful access to DNCL’s services. See Carey Decl. ¶ 59.
43
             2
44             DomainTools also dedicates a substantial portion of its briefing to arguing that
45   registrant information can be used for laudatory purposes, including (ironically) investigating
46   abuse and violation of the terms of use of online services and furthering cybersecurity efforts.
47   DNCL does not dispute that proposition—indeed, DNCL expressly indicated that provides the
48   Query Service to the public in part “to promote registrant accountability,” as well as to “allow[]
49   the public to see whether a domain name is available to license.” Carey Decl. ¶ 17. Whether
50   DomainTools uses domain registration information for beneficial purposes is, however, a
51   separate question.
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 1   viewer cannot record, repackage, and resell broadcast of a television show, DomainTools cannot
 2
 3   access and use Whois information in violation of the express terms pursuant to which that
 4
 5   information is made available to the public. Although the legal theory is different—DNCL is not
 6
 7   asserting a claim for copyright infringement or violation of a broadcasting license—the
 8
 9   underlying principle is the same: entities are entitled to impose restrictions, contractual or
10
11   otherwise, on information that they make available to the public. And the fact that many of the
12
13   companies and organizations to which DomainTools sells Whois information it obtains in
14
15   violation of DNCL’s terms may put that information to good use does not negate the violation or
16
17   excuse DomainTools from complying with the terms. Whether or not DNCL’s Whois
18
19   information is “publicly available” and whether or not it can be put to good use, DNCL Whois
20
21   service users have been authorized to access and use Whois information only if they comply with
22
23   the .nz TOU. DomainTools has violated, and continues to violate, those terms.
24
25
     C.       DNCL’s request for preliminary relief does not seek deletion of data.
26            DomainTools also mischaracterizes the preliminary relief sought by DNCL, asserting that
27
28   its motion asks the Court to order DomainTools to immediately “delete all historical .nz domain
29
30   registrant data pending resolution of the litigation.” Mot. at 6; see also id. at 2 (describing an
31
32   order to “purge all historical, publicly available .nz domain registrant information”).
33
34            Although DNCL’s complaint asks the Court to order that “DomainTools delete all
35
36   historical .nz WHOIS records obtained and stored in violation of the .nz WHOIS TOU,” the
37
38   preliminary relief sought does not include deletion because, “for now, a cessation of continuing
39
40   activities will prevent further harm pending a final judgment.” Dkt. 2 at 21 n.4; see also Dkt. 2-1
41
42   (proposed order omits any reference to deletion). Accordingly, it plainly is not true that DNCL’s
43
44   proposed preliminary injunction is “tantamount to granting DNCL a permanent injunction.” Mot.
45
46   at 11.
47
48
49
50
51

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 1                                        III.   ARGUMENT
 2   A.       Early discovery is disfavored and only available upon a showing of good cause.
 3
 4            A party moving for an order authorizing early discovery bears the burden of showing
 5
 6   “good cause” and demonstrating that “the need for expedited discovery, in consideration of the
 7
 8   administration of justice, outweighs the prejudice to the responding party.” Exari Sys. Inc v.
 9
10   Amazon Corp. LLC, No. C15-356 MJP, 2015 WL 12025325, at *1 (W.D. Wash. May 4, 2015)
11
12   (citation omitted). In ruling on such a motion, a court will consider “(1) whether a preliminary
13
14   injunction is pending; (2) the breadth of the discovery requests; (3) the purpose for requesting the
15
16   expedited discovery; (4) the burden on the [plaintiff] to comply with the requests; and (5) how
17
18   far in advance of the typical discovery process the request was made.” Id.
19
20            Courts in the Ninth Circuit generally disfavor exceptions to the general rules of
21
22   discovery. See Columbia Ins. Co. v. Seescandy.com, 185 F.R.D. 573, 577 (N.D. Cal. 1999)
23
24   (citing Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980)). The general rule that discovery
25
26   should not occur until later in the litigation is particularly relevant in the preliminary injunction
27
28   context, as such relief is designed to prevent “immediate threatened injury.” Caribbean Marine
29
30   Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988).
31
32            And although expedited discovery is sometimes ordered so that a movant can support a
33
34   motion for preliminary injunctive relief, it is very rarely ordered to allow a nonmovant to oppose
35
36   such relief. This is entirely sensible: a nonmovant does not need discovery because the “party
37
38   moving to obtain a preliminary injunction” bears the burden of proof. Nordyke v. Santa Clara
39
40   Cty., 110 F.3d 707, 710 (9th Cir. 1997). That DomainTools found two exceptions where a
41
42   nonmovant’s request was granted in part does not change the fact that its request is unusual,
43
44   disfavored, and not justified. Cf., e.g., Int’l Precision Prod., B.V. v. Staco Sys., Inc., No.
45
46   SACV1301831SJOEX, 2013 WL 12121547, at *1 (C.D. Cal. Dec. 18, 2013) (denying expedited
47
48   discovery “to determine whether . . . unsupported factual allegations of irreparable harm . . .
49
50   [were] true”).
51

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 1   B.       DomainTools has failed to show good cause justifying expedited discovery.
 2
 3            DomainTools has failed to show good cause justifying expedited discovery or departure
 4
 5   from the ordinary rules of procedure in this case.
 6            1.       DomainTools has shown no irreparable harm that justifies deviating from
 7                     the Federal Rules, whereas further delay would irreparably harm DNCL.
 8
 9            The purpose of the “pending request for injunction” factor is to ensure that “some
10
11   showing of irreparable harm” is made before the Court “deviate[s] from the federal rules.” Exari,
12
13   2015 WL 12025325, at *2. When the moving party requests expedited discovery in the
14
15   preliminary injunction context, a court can look to the irreparable harm cited in that party’s
16
17   preliminary injunction motion. But because DomainTools did not move for injunctive relief, it
18
19   was required to make a showing of irreparable harm argument in its Motion.
20
21            DomainTools failed to do so. See Mot. at 8-9. Instead, DomainTools argues that it needs
22
23   discovery to evaluate DNCL’s claim of irreparable harm—completely ignoring the requirement
24
25   that DomainTools make its own showing of irreparable harm to support its extraordinary request
26
27   for expedited discovery. See id. (holding that plaintiffs’ request for expedited discovery would
28
29   need to be supported by “an initial showing of irreparable harm in their expedited discovery
30
31   motion before the Court can grant an exception to the federal rules in the interest of justice”).
32
33            Instead, it is DNCL that is suffering ongoing and irreparable harm and DNCL that will be
34
35   prejudiced by further delay, as shown by the evidence submitted in support of its motion for
36
37   preliminary injunction. Although DomainTools’ cessation of its unauthorized access to DNCL’s
38
39   .nz Whois servers is a first step, it does not address all of DNCL’s concerns or put an end to the
40
41   harm DNCL and its registrants are suffering as a result of DomainTools’ unauthorized access to
42
43   and use of registrants’ Whois information. Rather, as explained in detail in DNCL’s motion for
44
45   preliminary injunction, DomainTools’ retention and sale of historical .nz WHOIS records, which
46
47   may contain personal contact information that .nz registrants have chosen to withhold from the
48
49   public access, continues to irreparably harm DNCL’s reputation and the goodwill it receives
50
51   from .nz domain users. See Dkt. 2 at 16-18.
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 1            2.     There is no need—compelling or otherwise—for expedited discovery.
 2
 3            DomainTools contends that it needs expedited discovery because “[t]here are serious
 4
 5   factual questions . . . about DNCL’s claims it will suffer irreparable harm, its standing to sue, and
 6
 7   the likelihood of success on the merits.” Mot. at 2; see also id. at 7. But it is DNCL, not
 8
 9   DomainTools, who bears the burden of proof on these issues. See Nordyke, 110 F.3d at 710.
10
11            DNCL is prepared to stand on the evidence it submitted in support of its request for
12
13   preliminary injunctive relief. If DomainTools’ position is that DNCL’s irreparable harm “is at
14
15   best, speculative and at worst, nonexistent,” and that “serious factual questions” preclude DNCL
16
17   from proving likelihood of success on the merits, Mot. at 7, then DomainTools is free to argue
18
19   those points in its opposition. DomainTools does not need discovery to argue that DNCL has
20
21   failed to carry its burden. DomainTools has thus failed to show any need for discovery.
22            3.     DomainTools’ request is not timely under the circumstances.
23
24            If DomainTools believed that it needed expedited discovery to respond to DNCL’s
25
26   motion for preliminary injunction it could have sought such discovery within the time period
27
28   provided for adjudication of DNCL’s motion for a preliminary injunction. DNCL notified
29
30   DomainTools on May 21, 2018, that it intended to seek a preliminary injunction and served its
31
32   papers on DomainTools on June 15, 2018. Had DomainTools timely raised its request for
33
34   expedited discovery and filed a motion, that motion could have been briefed—on the appropriate
35
36   three-Friday schedule—and noted for decision before DomainTools’ opposition to the pending
37
38   request for preliminary injunction was due. Alternatively, DomainTools could have filed its
39
40   motion seeking discovery in conjunction with its opposition to DNCL’s motion, making its
41
42   points on the record available and indicating where it felt additional discovery is warranted. Cf.,
43
44   e.g., K-2 Corp. v. Body Glove Int’l, LLC, No. C09-0042JLR, 2009 WL 87446, at *1 (W.D.
45
46   Wash. Jan. 13, 2009). Instead, DomainTools did not request expedited discovery until June 21,
47
48   2018—after it had secured DNCL’s agreement to extend DomainTools’ deadline to respond to
49
50   the complaint—and waited another week to file this unnecessary, collateral motion. See Hinnen
51

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 1   Decl. at ¶¶ 33-34, Ex. H.
 2
 3
              4.     DomainTools’ specific requests are neither appropriate nor warranted.
 4            Even if DomainTools had shown it needed pre-response discovery (and it has not), it
 5
 6   cannot justify the requests made in its Motion. DomainTools seeks, on an expedited basis, to
 7
 8   propound no fewer than 12 requests for production, 7 interrogatories, 2 requests for admission,
 9
10   and a 3.5-hour Rule 30(b)(6) deposition of DNCL. See Heath Decl. ¶¶ 10-13, Exs. 7-10. This
11
12   quantum of expedited discovery is inappropriate, as even the cases cited by DomainTools
13
14   acknowledge. See, e.g., Quia Corp. v. Mattel, Inc., No. C10-01902 JF (HRL), 2010 WL
15
16   2179149, at *2 (N.D. Cal. May 27, 2010) (curtailing request “to propound seven interrogatories
17
18   and ten requests for production”).
19
20            Moreover, notably absent from DomainTools’ motion is any specific explanation of why
21
22   the specific discovery it seeks is necessary to respond to DNCL’s motion for preliminary
23
24   injunction. Careful review of DomainTools’ requests shows that the discovery sought is either
25
26   already available, not relevant to the dispute at all, or otherwise not necessary.
27
28                   a.      DomainTools claims to need evidence it already has.
29
30            DomainTools’ representations that the expedited discovery it seeks is “critical” or
31
32   “necessary” for it to respond to DNCL’s motion for preliminary injunction is fatally undermined
33
34   by its requests for information that has already been provided. See, e.g., Hansen Beverage Co. v.
35
36   Innovation Ventures, LLC, No. CIV. 08CV1166-IEGPOR, 2008 WL 3992353, at *2 (S.D. Cal.
37
38   Aug. 28, 2008) (relying on public availability to deny expedited discovery request).
39
40            For example, DomainTools requests “[t]he Privacy Concerns and Sharing Data’ survey
41
42   that New Zealand’s Privacy Commissioner purportedly commissioned that was conducted from
43
44   March 21, 2018 and March 27, 2018.” Heath Decl. ¶ 11, Ex. 8 (RFP No. 5). DNCL already
45
46   submitted “a copy of the media release detailing the results of the survey,” including its results
47
48   and methodology. Carey Decl. ¶ 38, Ex. 13. DomainTools seeks “[e]ach Memorandum of
49
50   Understanding (‘MOU’) that DNCL entered into with an organization.” Heath Decl. ¶ 11, Ex. 8
51

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 1   (RFP No. 6). DNCL has already provided the MOU it recently entered with the New Zealand
 2
 3   Computer Emergency Response Team (“CERT”), and explained that “all MOUs must be
 4
 5   published on [DNCL’s] website.” Carey Decl. ¶¶ 48-49, Ex. 15. DomainTools seeks documents
 6
 7   “sufficient to show the amount of traffic through Port 43 on a monthly basis during the relevant
 8
 9   period.” Heath Decl. ¶ 11, Ex. 8 (RFP No. 7). DNCL’s complaint states that “[i]n a typical
10
11   month, over 10 million .nz WHOIS queries are performed, of which less than 1% are conducted
12
13   using the DNCL website” such that “[t]he vast majority of WHOIS queries are sent through Port
14
15   43.” Compl. ¶ 30. It is a mystery what else DomainTools could need on these topics—surely the
16
17   provided information is sufficient to make whatever points DomainTools wishes to make.
18
19            Similarly, DomainTools seeks agreements between InternetNZ, DNCL, and NZRS. See
20
21   Heath Decl. ¶ 11, Ex. 8 (RFP Nos.8-9). But the Carey Declaration attaches the policies that are
22
23   relevant to the operation of the .nz domain name space. See Carey Decl. ¶ 6, Ex. 1 (“InternetNZ
24
25   has appointed DNCL to manage and administer the .nz domain name space on behalf of
26
27   InternetNZ.”); see also id., Exs. 1-4. It also explains that NZRS “was disestablished . . . and
28
29   amalgamated into InternetNZ,” so that any NZRS agreements are irrelevant. Id. ¶ 15. And all
30
31   remotely relevant agreements are already available at https://internetnz.nz/governance-policies-
32
33   register and htpp://dnc.org.nz/the-commission/governance-documents.
34
35            And finally, DomainTools seeks information about the technology DNCL uses to prevent
36
37   unauthorized bulk queries on its Query Service, as well as DNCL’s ability to limit the personal
38
39   information available through its Whois Query Service. Heath Decl. ¶¶ 10, 12, Ex. 7, 9
40
41   (Interrogatory Nos. 5-6, RFA Nos. 1-2). But evidence submitted by DNCL already shows that
42
43   .nz Whois Port 43 servers are protected by “extensive automated rate limiting” that “operates for
44
45   individual IP addresses and for aggregate blocks using multiple methods of aggregation,” and
46
47   that the Query Service is protected by “a CAPTCHA process.” Carey Decl. ¶¶ 20, 68, Ex. 21.
48
49   The point is not whether or how DNCL is attempting to protect its registrants’ personal data but
50
51   that its efforts are being thwarted because DomainTools continues to sell to its customers historic

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 1   records (compiled unlawfully ab initio).
 2
 3
                       b.    DomainTools seeks discovery to which it is not entitled.
 4            First, DomainTools seeks parol evidence regarding the drafting of the TOU. See Heath
 5
 6   Decl. ¶ 11, Ex. 8 (RFP 3-4). Under Washington law, it is the plain language of the TOU that is
 7
 8   relevant and material to this dispute; DNCL’s subjective interpretation thereof is not in issue.3
 9
10   See Brogan & Anensen LLC v. Lamphiear, 165 Wash. 2d 773, 776 (2009) (“Washington courts
11
12   focus on objective manifestations of the contract rather than the subjective intent of the parties;
13
14   thus, the subjective intent of the parties is generally irrelevant if the intent can be determined
15
16   from the actual words used.”). DNCL submits that its TOU speak for themselves and are neither
17
18   vague nor ambiguous—particularly with regards to their prohibitions on DomainTools’ conduct.
19
20   See, e.g., Carey Decl. ¶ 23, Ex. 6; Mot. for Preliminary Injunction, Dkt. 2 at 1. If DomainTools
21
22   contends otherwise, it can make those arguments based on the plain language of the TOU.
23
24            Second, DomainTools seeks the specific identities of the Washington .nz domain
25
26   registrants and whether they opted into the Individual Registrant Privacy Option (“IRPO”). See
27
28   Heath Decl. ¶¶ 10,11, Ex. 7, 8 (Interrogatory Nos. 1-2, RFP Nos. 1-2). DomainTools’ entitlement
29
30   to such discovery would be dubious even in the ordinary course. The identities and contact
31
32   information of .nz domain registrants residing in Washington are neither necessary nor “relevant
33
34   to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P.
35
36   26(b)(1).4 DNCL’s request for relief does not fail if no Washington residents opted into the
37
38            3
39             DomainTools refers to an “indication that [DNCL] had intentionally drafted its TOUs to
40   be vague and ambiguous,” citing as support settlement discussions in a March 20, 2018 meeting,
41   subject to Federal Rule of Evidence 408, as referred to in a letter marked as “Settlement
42   discussion; Confidential pursuant to FRE 408.” Mot. at 6; Heath Decl. ¶ 6, Ex. 4. DomainTools
43   thus is apparently seeking to use supposed statements made by DNCL during the meeting as
44   evidence of the enforceability of DNCL’s TOU, which plainly is not permissible. See Fed. R.
45   Evid. 408 (“Evidence of . . . conduct or a statement made during compromise negotiations about
46   the claim” is “not admissible – on behalf of any party – either to prove or disprove the
47   validity . . . of a disputed claim.”). DNCL disputes the accuracy of DomainTools’
48   characterization of its statements, but will not respond further to maintain the confidentiality of
49   the parties’ discussions.
50           4
               DNCL also notes that it filed this litigation to protect registrant privacy, an effort that
51   would be undermined by providing their contact information to DomainTools.
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 1   IRPO because DNCL seeks to protect the privacy and personal information of all its registrants,
 2
 3   not only those who opt into the IRPO. This is why DNCL removed all personal information from
 4
 5   the Port 43 avenue—because DNCL could not prevent that information from being harvested in
 6
 7   bulk in violation of its TOU by companies like DomainTools. See Dkt. 2 at 5-6, 21; Carey Decl.
 8
 9   ¶ 68-70. It is thus unnecessary for DomainTools to know if any Washington residents elected the
10
11   IRPO. Nevertheless, DNCL now attests that six .nz registrants who reside in Washington state
12
13   have opted into the IRPO. See Carey Decl. in Supp. of Pl.’s Opp. to Def.’s Mot. for Expedited
14
15   Discovery ¶ 2 (“Second Carey Decl.”).
16
17
                       c.    DomainTools seeks discovery that is peripheral at best.
18            Finally, DomainTools seeks information about (1) any express agreements or
19
20   representations DNCL made regarding the privacy of registrant information; (2) agreements in
21
22   which DNCL has agreed to make registrant information public; (3) detailed information about
23
24   each registrar with special access to the Query Service, (4) the owner, serial number, physical
25
26   address, and IP address for each of the .nz Whois servers, and (5) the date on which DNCL first
27
28   became aware that DomainTools was collecting .nz domain registrant information. See Heath
29
30   Decl. ¶¶ 10, 11, Exs. 7,8 (Interrogatory Nos. 3-4, 7, RFP Nos. 10-12).
31
32            First, any express agreements or direct representations DNCL has made regarding the
33
34   privacy of registrant information would help DNCL, not DomainTools. If DomainTools thinks
35
36   the absence of such documents is significant, it is free to make that argument. Second, DNCL is
37
38   not aware of any agreements in which it agreed to make registrant information public. To the
39
40   extent DomainTools seeks certain ICANN documents, those are publicly available at
41
42   https://tinyurl.com/y72bquqd; there are no other arrangements between ICANN and InternetNZ.5
43
44   Third, it simply is not plausible that DomainTools requires detailed information about registrars
45
46
47
              5
48             Throughout DomainTools’s motion, there is an inference that ICANN agreements and
49   policies that exist with TLD registries and registrars somehow apply to the .nz domain name
50   space. This is not the case. ICANN does not set the policy governance framework for the .nz
51   domain name space.
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 1   or the .nz Whois servers to respond to DNCL’s motion for preliminary injunction. These
 2
 3   questions are peripheral at best and are not material to the basic issues in DNCL’s motion.
 4
 5   Finally, when DNCL became aware that DomainTools was violating its TOU does not bear on
 6
 7   whether DomainTools must now comply with them. Nonetheless, in accordance with its desire
 8
 9   for prompt resolution, DNCL states that it first became aware of DomainTools’ activities in mid-
10
11   2016. See Second Carey Decl. ¶ 3. As discussed above and in its motion for a preliminary
12
13   injunction, DNCL has moved expeditiously since that discovery and sought to address its
14
15   concerns through implementing technological changes, removing registrant personal information
16
17   from the Port 43 avenue, initiating negotiations with DomainTools, and bringing the present
18
19   action and seeking preliminary injunctive relief.
20
21
                                          IV.     CONCLUSION
22            For the foregoing reasons, Domain Name Commission Limited respectfully asks the
23
24   Court to deny defendant DomainTools’ Motion for Expedited Discovery.
25
26            DATED this 2nd day of July, 2018.
27
28
29
30                                                       s/ Todd M. Hinnen
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 1                                      CERTIFICATE OF SERVICE
 2
 3            I certify under penalty of perjury that on July 2, 2018, I electronically filed the foregoing
 4
 5   PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR EXPEDITED DISCOVERY
 6
 7   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
 8
 9   to the following attorney(s) of record:
10
11
12
13   Jacob Heath
14   Aravind Swaminathan
15   Melanie D. Phillips
16   Orrick, Herrington & Sutcliffe, LLP
17   701 5th Ave
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19   Seattle, WA 98104
20
21   Attorneys for Defendant DomainTools, LLC
22
23
24
25            I further certify that all parties to this action or their attorneys are CM/ECF participants.
26
27
28            DATED this 2nd day of July, 2018.
29
30                                                        s/ Todd M. Hinnen
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